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   OMAR SANTOS and AMANDA CLEMENTS                     Case No 1:19-cv-23084-KMW
   on behalf of themselves and all others similarly
   situated,

                  Plaintiffs,

          vs.
                                                       O RA L A RGUM E N T RE Q UE S TE D
   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC d/b/a ARS ACCOUNT
   RESOLUTION SERVICES and EXPERIAN
   INFORMATION SOLUTIONS, INC.,

               Defendants.
   _____________________________________/


        P L A IN TIFFS ’O P P O S ITIO N TO D E FE N D A N T H E A L TH C A RE RE V E N UE
            RE C O V E RY GRO UP L L C ’S M O TIO N FO R S UM M A RY JUD GM E N T
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      I.      IN TRO D UC TIO N

           Plaintiffs Omar Santos and Amanda Clements (“Plaintiffs”) allege—and summary

   judgment evidence establishes—that Defendant Healthcare Revenue Recovery Group, LLC d/b/a

   ARS Account Resolution Services (“HRRG” or “ARS”) violated the Fair Credit Reporting Act

   (“FCRA”) by willfully breaching its duty to investigate inaccurate and incomplete information

   contained in Plaintiffs’ credit reports. Misconduct on the part of both HRRG and Defendant

   Experian Information Solutions, Inc. (“Experian”) indisputably resulted in the alteration of

   delinquency-related dates and the removal of the account history from Plaintiffs’ Experian credit

   files and reports, making the debts reported by HRRG appear more recent than they actually were.

   Because the evidence establishes that this wrongful conduct was willful, Plaintiffs seek statutory

   damages under the FCRA.

           HRRG’s motion for summary judgment (ECF No. 59) rests on disputed issues of material

   fact, a misreading of the law, a sham declaration, and an incomplete record—discovery in this

   matter does not close until April 2021. Ultimately, HRRG urges this Court to find that it complied

   with its duty to investigate the disputed, inaccurate credit information reported by Experian, as

   required by the FCRA. But any fair examination of the evidence collected thus far demonstrates

   that HRRG willfully violated its duty to investigate under the FCRA, because it merely reaffirmed

   the disputed information that it previously reported to Experian, without undertaking any effort to

   investigate or verify its accuracy. In either event, the “reasonableness” of HRRG’s investigation

   “is a factual question, and it will normally be reserved for trial.” See Hinkle v. Midland Credit

   Mgmt., Inc., 827 F.3d 1295, 1303 (11th Cir. 2016). HRRG’s motion should be denied.




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       II.   B A C KGRO UN D

         The inaccurate credit information at issue in this case is not in dispute.




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          Plaintiffs disputed the inaccuracy of their credit reports through Experian. P S O F,¶ ¶ 40-

   45. HRRG conducted no investigation of the disputes as required by the FCRA, and, instead,

   simply verified the account information it had already reported to Experian. P S O F,¶ ¶ 46-47 .

          HRRG erroneously contends that it bears no responsibility for the inaccurate and

   incomplete information in Plaintiffs’ credit reports because Experian’s data-processing rule was

   the initial source of the misreporting. But HRRG had both the obligation and opportunity to

   correct the inaccurate and incomplete information concerning HRRG’s debts.               Had HRRG

   adequately investigated the disputes that Plaintiffs initiated and fully responded to Experian, the

   error on Plaintiffs’ credit reports would have been corrected. P S O F,¶ ¶ 20,38 ,59.Indeed, even

   a cursory examination of the dispute forms sent from Experian to HRRG would have alerted

   HRRG to the problem. The account history was completely missing. P S O F,¶ 55



                                                              . Instead, HRRG simply glanced at the

   information provided by Experian and moved on. P S O F,¶ ¶ 46-47 . Apparently cognizant of its

   liability for failing to conduct a reasonable investigation, HRRG’s motion rests on several disputed

   factual claims.

          First, HRRG emphasizes, again and again, that it does not report the Date of Status or the

   First Reported Date to Experian. But this fact is entirely irrelevant to Plaintiffs’ claims. Plaintiffs

   do not dispute that HRRG does not directly report the Date of Status and First Reported Dates to

   Experian. Rather, those dates are generated from the account history available in Experian’s

   system. P S O F,¶ ¶ 20,38 ,59. Critically, HRRG does report the account history to Experian. Id.

   It was HRRG’s duty to report that account history accurately and to reasonably investigate

   Plaintiffs’ disputes when they informed Experian and HRRG that their accounts had been re-aged.



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   Had HRRG done so, it would have discovered that Plaintiffs’ account history was missing. Id.

   HRRG had an obligation to supply that missing information as part of its response following an

   investigation.

          Second, HRRG repeatedly asserts that the Date of Status does not appear on credit reports.




          Third, HRRG argues that it did not provide inaccurate information during its investigation.

   This is also wrong. HRRG failed to even fully complete the Automated Consumer Dispute

   Verification (“ACDV”) forms in responding to Plaintiffs’ disputes. P S O F,¶ 55.




          The remainder of HRRG’s arguments are contradicted by its own discovery responses and

   deposition testimony. HRRG, for the first time, argues that it never received any ACDV forms for

   Plaintiff Santos despite sixteen such forms completed by HRRG were produced in this case and

   HRRG’s earlier testimony that it made a determination about Santos’ dispute and processed it.

   P S O F,¶ ¶ 15-16,49-50. HRRG argues that the disputes by Plaintiffs were vague because they did

   not use the words “Date of Status” or “First Reported Date,” but HRRG testified that it knows that

   “re-aging” is a “common term in the industry” and is “the practice of making accounts appear

   more newly reported.” P S O F,¶ 53. Indeed, HRRG admitted under oath that Plaintiffs’ credit

   reports were incorrect. P S O F,¶ 57 .

          At bottom, it is readily apparent that triable issues exist as to whether HRRG’s rubber-

   stamp verification violates the requirement of a reasonable investigation under the FCRA.



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       III.    S TA N D A RD

           Summary judgment is only warranted “if the movant shows that there is no genuine dispute

   as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

   56(a). In making the determination, “all justifiable inferences are to be drawn in [the nonmovant’s]

   favor.” Tolan v. Cotton, 134 S. Ct. 1861, 1863 (2014) (quoting Anderson v. Liberty Lobby, Inc.,

   477 U.S. 242, 255 (1986)). In evaluating a motion for summary judgment, a court considers the

   evidence in the record, including “depositions, documents, electronically stored information,

   affidavits or declarations, stipulations…, admissions, interrogatory answers, or other materials.”

   Fed. R. Civ. P. 56(c)(1)(A).

           A court “must view all the evidence and all factual inferences reasonably drawn from the

   evidence in the light most favorable to the non-moving party, and must resolve all reasonable

   doubts about the facts in favor of the non-movant.” Rioux v. City of Atl., 520 F.3d 1269, 1274 (11th

   Cir. 2008) (quotation marks and citations omitted). At the summary judgment stage, a court’s task

   is not to “weigh the evidence and determine the truth of the matter, but to determine whether there

   is a genuine issue for trial.” Anderson, 477 U.S. at 249. To this end, if the non-moving party

   provides more than a mere “scintilla of evidence” demonstrating that “the jury could reasonably

   find for the plaintiff,” it will defeat the motion. Id. at 252.

       IV .    A RGUM E N T

               A .P laintiffs’C red itReports C ontain Inaccu rate Inform ation

           HRRG remarkably spends pages and pages arguing that it does not have to comply with

   sections 1681e and 1681i of the FCRA even though Plaintiffs do not allege that it does. Sections

   1681e and 1681i pertain to a credit reporting agency’s obligation to maintain maximum possible

   accuracy and to reinvestigate disputed matters; in this case that is Experian’s obligation.



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          Section 1681s-2 of the FCRA, however, does require data furnishers, such as HRRG, to

   conduct an investigation following a consumer dispute. Indeed, Plaintiffs’ complaint is clear that

   their allegations against HRRG pertain to HRRG’s failure to investigate the accuracy of reported

   information following Plaintiffs’ disputes. D E 1,¶ ¶ 68 ;7 5. As a result of HRRG’s failure to

   investigate, inaccurate or incomplete information remained on Plaintiffs’ credit report.

          HRRG is wrong in claiming that it cannot be held liable because it did not provide the Date

   of Status to Experian. The FCRA imposes liability on HRRG because a reasonable investigation

   would have revealed that Plaintiffs’ account information was missing and incomplete:

          A furnisher must “(A) conduct an investigation with respect to the disputed
          information;” “(B) review all relevant information provided by the [CRA];” and
          “(C) report the results of the investigation to the [CRA].” If the investigation reveals
          that the information is incom plete, inaccurate, or unverifiable, the fu rnisherm u st
          “m od ify”the fu rnished inform ation, “delete” it, or “permanently block the
          reporting of that item of information” to CRAs.

   Hunt v. JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452, 454 (11th Cir. 2019) (quoting §

   1681s-2(b)(1)) (emphasis added). Here, HRRG never conducted such an investigation, so it never

   revealed the account information was incomplete, and thus never corrected the information.

          The cases cited by HRRG are inapplicable here. In Arianas v. LVNV Funding LLC, 132 F.

   Supp. 3d 1322 (M.D. Fla. 2015), the court held that a plaintiff’s “unsupported assertion that he

   paid the debt, without any documentary support, does not cast doubt on [defendant’s]

   reasonableness in relying on and reporting the information in the electronic records.” Id. at 1328.

   Here, Plaintiffs’ allegations are hardly “unsupported.” The ACDV files show that HRRG did not

   fully respond to them, HRRG testified that all it did was confirm what was already in its system,

   and                                                                    P S O F,¶ ¶ 46-47 ,55,57 ,58 .

          In Stroud v. Bank of Am., 886 F. Supp. 2d 1308 (S.D. Fla. 2012), the court granted summary

   judgment when the plaintiff “failed to provide any evidence, as opposed to merely his own

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   allegations or hunches or theories, that the investigation was unreasonable.” Id. at 1314. Plaintiffs

   here are not operating under hunches and theories; they are relying on HRRG’s own testimony.

   HRRG testified that it should have handled Plaintiffs’ disputes as “specific” disputes, and HRRG

   confirmed that its dispute-verification process is “literally just looking at the data that HRRG has

   and reporting it back to the credit reporting agency.” P S O F,¶ ¶ 46-47 ,52.

            The opinion in Green v. RBS Nat. Bank, 288 F. App’x 641, 643 (11th Cir. 2008), a pro se

   appeal, contains no analysis or even explanation of the dispute or the investigation undertaken.

   HRRG’s citation to it for the proposition that a “furnisher ‘complied with the letter of the law’ by

   investigating a dispute and accurately reporting its findings” is tautological. To be sure, if an

   investigation is undertaken and if a data furnisher accurately reports its findings, such conduct

   complies with the FCRA. But that is not what happened here. HRRG did not really conduct an

   investigation and it did not accurately report its findings because it returned half-blank ACDV

   forms.

            Plaintiffs’ position, in contrast, finds support in Hinkle v. Midland Credit Mgmt., Inc., 827

   F.3d 1295 (11th Cir. 2016), which held that “what constitutes a ‘reasonable investigation’ will

   vary depending on the circumstances of the case.” Id. at 1302. In fact, Hinkle cited with approval

   Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 431 (4th Cir. 2004), which held that a “jury could

   find a § 1681s–2(b) violation where the original creditor ended its investigation before

   ‘consult[ing] underlying documents.’” Hinkle, 827 F.3d at 1302 (quoting Johnson, 357 F.3d at

   431). Here, not only did HRRG never consult underlying documents, but it never even bothered

   to see how long Plaintiffs’ accounts were reported in its own system.

            HRRG also is wrong in claiming that the Date of Status does not appear on credit reports.




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                                                  HRRG again ignores that Plaintiffs allege that their

   credit reports were missing account history, which would have been viewable by third parties, and

   the absence of the account history makes the reports inaccurate and misleading.




                                       It is especially curious that HRRG would argue that Plaintiffs’

   reports were accurate because HRRG already testified that the ever-changing Date of Status and

   lack of account history on Plaintiffs’ credit report rendered them inaccurate. P S O F,¶ 57 .

          At a minimum, Plaintiffs have presented more than sufficient evidence to create a disputed

   issue of fact as to whether their credit reports contained inaccurate or incomplete information.

              B .H RRG Failed to C ond u ctan A d equ ate Investigation of P laintiffs’D ispu tes

          “The FCRA creates a private right of action against furnishers of information to credit

   reporting agencies.” Arianas v. LVNV Funding LLC, 132 F. Supp. 3d 1322, 1326 (M.D. Fla. 2015)

   (quoting Green v. RBS Nat. Bank, 288 F. App’x 641, 642 (11th Cir. 2008); 15 U.S.C. § 1681s–

   2(b)(1)). “If a furnisher receives notice of a customer’s dispute from a credit reporting agency, the

   furnisher is required to conduct ‘a reasonable investigation of their records to determine whether

   the disputed information can be verified.’” Arianas v. LVNV Funding LLC, 132 F. Supp. 3d 1322,

   1326 (M.D. Fla. 2015) (quoting Johnson v. MBNA America Bank, NA, 357 F.3d 426, 431 (4th Cir.

   2004)). The FCRA “requires some degree of careful inquiry by furnishers of information.” Hinkle,

   827 F.3d at 1303 (citing 15 U.S.C. § 1681s–2(b)).




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          On July 24, 2017, Plaintiff Omar Santos requested and received a copy of his Experian

   credit report. P S O F,¶ 40. The report identified three delinquent ARS Accounts (Nos. 71670***,

   80732***, and 81364***), all of which had a “Date of Status” of July 2017 and a “First Reported”

   date of July 2017. Id. All of these dates were inaccurate and made the debts appear newer or fresher

   on Mr. Santos’ credit report than they actually were. Id. On July 27, 2017, Mr. Santos disputed the

   inaccuracies on the three accounts reported by HRRG to Experian. P S O F,¶ 41. Specifically, Mr.

   Santos informed Experian that the accounts had been re-aged. Id.

          Mr. Santos then requested and received another Experian credit report on September 5,

   2017. P S O F,¶ 42. Remarkably, for each of the three ARS Accounts appearing on the report, the

   “Date of Status” and a “First Reported” date had been changed to September 2017—as opposed

   to July 2017, as stated in the prior report—and the account / payment history for the intervening

   months had been removed. Id. Again, the accounts had been re-aged again to appear newer than

   they were. Id.

          Similarly, on July 25, 2017, Plaintiff Amanda Clements requested and received her

   Experian credit report. P S O F,¶ 43. The July report identified two delinquent ARS accounts

   (Account Nos. 71788*** and 72822***), both of which had a “Date of Status” of July 2017 and

   a “First Reported” date of July 2017. Id. These dates were incorrect and re-aged to appear newer

   than they actually were. Id. Ms. Clements disputed the inaccuracies in a letter the next day to

   Experian. P S O F,¶ 44. Ms. Clements then requested and received another Experian credit report

   on August 22, 2017. P S O F,¶ 45. This time, one ARS account was removed, but the remaining

   ARS account had a “First Reported” date and a “Date of Status” of August 2017 and no prior

   account history. Id. The account had again been re-aged to appear newer than it was. Id.




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                                            Second, even after Plaintiffs disputed the misreporting,

   HRRG’s investigation of the dispute was completely inadequate. HRRG refused to properly

   investigate Plaintiffs’ disputes and failed to respond to Experian in such a way that would have

   corrected the problem.

          When, as here, a consumer initiates a dispute with Experian, Experian sends an Automated

   Consumer Dispute Verification (“ACDV”) form to the data furnisher—HRRG in this case. HRRG

   is then supposed to investigate the dispute and respond to the ACDV through a system known as

   e-OSCAR. Unfortunately, HRRG does not conduct an actual investigation, let alone an

   investigation that could be considered reasonable under the circumstances. HRRG handles

   thousands of consumer disputes every month and each employee in the dispute department



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   processes approximately two hundred disputes every day—less than two-and-half minutes per

   dispute if each employee works for eight hours straight. P S O F,¶ 48 . The majority of consumer

   disputes are handled through an electronic system called e-OSCAR. P S O F,¶ 54. When HRRG

   believes a dispute to be “non-specific,” as it chose to interpret Plaintiffs’ disputes here, HRRG

   simply “verified the identity of the account holder and the account information” and “submitted

   its response to Experian via the e-OSCAR system.” P S O F,¶ 46. These are HRRG’s own words.

   Nothing about that process even resembles or contemplates an investigation. In fact, HRRG’s

   corporate designee confirmed that its “verification process is literally just looking at the data that

   HRRG has and reporting it back to the credit reporting agency.” P S O F,¶ 47 . In other words, as a

   matter of course, it simply reaffirms the information that is being challenged, without any effort

   made to investigate or verify its accuracy. HRRG later conceded that it should have treated the

   disputes as specific and that “re-aging” is a “common term in the industry” and is “the practice of

   making accounts appear more newly reported.” P S O F,¶ ¶ 52-53.

          HRRG’s failure to investigate Plaintiffs’ disputes allowed the errors initially caused by

   Experian to continue.



                                     But in addition to never conducting any investigation into the

   disputes, HRRG did not even fully complete the ACDVs. Every ACDV completed by HRRG

   regarding Plaintiffs left the response history grid empty. P S O F,¶ 55. Thus, instead of looking into

   the dispute and uncovering that Experian was missing account history, HRRG simply verified the

   identify of Plaintiffs and moved on.

          Experian’s corporate designee’s testimony—




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                              easily satisfies Plaintiffs’ burden of showing that if a reasonable

   investigation had been conducted by HRRG, the outcome of the investigation would have been

   different. A proper investigation by HRRG would have included HRRG reviewing its own files

   and correctly filling out the account history sections of the ACDVs sent to them by Experian on

   Plaintiffs’ accounts.



          The remainder of HRRG’s arguments about its dispute investigation are similarly

   inaccurate. HRRG for the first time argues that it “did not receive an ACDV from Experian or any

   credit reporting agency regarding any dispute by Santos on or about July 27, 2017 or at any other

   time” and that “[t]he record however, is devoid of any evidence that ARS received any dispute by

   Plaintiff Santos either directly or through the e-OSCAR platform.” (Friedlander Decl. ¶ 15; MSJ

   at p.11) This is simply inaccurate. Indeed, HRRG’s argument is contradicted by its own earlier

   testimony. When asked to identify all the actions it took following receipt of Plaintiffs’ disputes,

   HRRG responded:

          Upon receipt of an ACDV from Experian via the e-OSCAR system, HRRG
          determined if the dispute was specific or not specific; if the dispute was not specific
          (Santos and Clements), HRRG verified the identity of the account holder and the
          account information; if the dispute was specific as to account information
          (Clement), HRRG provided additional account information and updated the
          account; then HRRG submitted its response to Experian via the e-OSCAR system
          on or before the requested date.

   P S O F,¶ 54. Further, Experian produced six teen ACDV forms completed by HRRG regarding

   disputes submitted by Plaintiff Santos. While some of them pre-date the dispute alleged in the

   Complaint, it is quite clear that HRRG did receive and respond to disputes by Plaintiff Santos.

   P S O F,¶ 50. Including one after the date alleged in the complaint. Further, it is unclear how Mr.




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   Freidlander could testify to how many ACDV forms HRRG received given that HRRG does not

   keep them longer than eighteen months and did not have any for either Plaintiff. P S O F,¶ 51.

          In fact, under the FCRA, the duties of a data furnisher do not lapse once an initial

   investigation is undertaken in regard to disputed information, because such a holding would

   contravene both the statutory language and the stated intent of the FCRA, to ensure consumer

   reporting procedures that are fair and equitable to the consumer. Marcinski v. RBS Citizens Bank,

   N.A., 36 F. Supp. 3d 286 (S.D.N.Y. 2014) (citing 15 U.S.C.A. § 1681b(a)(4), (b)). Had HRRG

   bothered to properly investigate any of those disputes, it could have corrected the problem here.

          In any event, the reasonableness of HRRG’s investigation cannot be resolved at summary

   judgment. “When a furnisher reports that disputed information has been verified, the question of

   whether the furnisher behaved reasonably will turn on whether the furnisher acquired sufficient

   evidence to support the conclusion that the information was true. This is a factual question, and

   it will normally be reserved for trial.” Hinkle, 827 F.3d at 1303 (emphasis added); Westra v. Credit

   Control of Pinellas, 409 F.3d 825, 827 (7th Cir. 2005) (holding that when reinvestigation was

   cursory “whether further inquiry was necessary and whether the reinvestigation was reasonable

   are factual issues best left for the jury”); King, 452 F. Supp. 2d at 1278 (holding that the issue

   “cannot be resolved on summary judgment unless the reasonableness or unreasonableness of the

   procedures is beyond question”) (quoting Crabill v. Trans Union, L.L.C., 259 F.3d 662, 664 (7th

   Cir. 2001)).

          A reasonable jury could find that HRRG did not conduct a reasonable investigation into

   Plaintiffs’ disputes when it failed to look beyond the materials originally provided and simply

   reported to Experian that the disputed information had been verified. McGhee v. Rent Recovery

   Sols., LLC, No. 1:17-CV-72-CC-JKL, 2018 WL 4850119, at *14 (N.D. Ga. July 6, 2018), report



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   and recommendation adopted, No. 1:17-CV-0072-CC-JKL, 2018 WL 10809250 (N.D. Ga. Sept.

   21, 2018); Daugherty v. Ocwen Loan Servicing, LLC, 701 F. App’x 246, 256 (4th Cir. 2017) (“[a]

   jury also could conclude from the evidence that [the defendant] was reckless in processing each

   dispute verification request independently, without consulting the context of prior correspondence

   from [the plaintiff], the CFPB, or [the credit reporting agency] regarding the same account.”).

              C .The S ham D eclaration of D avid Fried land erS hou ld B e D isregard ed .

          In support of its motion for summary judgment, HRRG submitted a declaration from its

   president, David Friedlander (“Friedlander”). Friedlander’s declaration is a sham declaration

   contradicted by HRRG’s own prior discovery responses and deposition testimony and should be

   disregarded. Cf. Liebman v. Metro. Life Ins. Co., 708 F. App’x 979, 983 (11th Cir. 2017) (quoting

   Van T. Junkins & Assocs. v. U.S. Indus., Inc., 736 F.2d 656, 657 (11th Cir. 1984)).

          Friedlander now declares that HRRG “is not able to alter or delete any account history

   reported to Experian or any CRA.” (Friedlander Decl. ¶ 12.) This is contradicted by HRRG’s

   earlier deposition testimony that HRRG did, in fact, delete two accounts it reported to Experian

   for Plaintiff Clements. (Brennan Depo. 58:13-59:14.)

          Friedlander now declares that HRRG “did not receive an ACDV from Experian or any

   credit reporting agency regarding any dispute by Santos on or about July 27, 2017 or at any other

   time. (Friedlander Decl. ¶ 15.) But this contradicts HRRG earlier verified responses to Plaintiffs’

   interrogatories, where HRRG stated:

          Upon receipt of an ACDV from Experian via the e-OSCAR system, HRRG
          determined if the dispute was specific or not specific; if dispute [sic] was not
          specific (Santos and Clements), HRRG verified the identity of the account holder
          and the account information; if the dispute was specific as to account information
          (Clements), HRRG provided additional account information and updated the
          account; then HRRG submitted its response to Experian via the e-OSCAR system
          on or before the requested due date.



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   (HRRG’s Second Supplemental Response to Interrogatory 5). HRRG also confirmed during its

   deposition that it made a determination on Santos’ dispute. (Brennan Depo. 41:11-42:4.) And

   Experian produced sixteen ACDV forms for Plaintiff Santos, completed by HRRG, including

   one processed after the date of Santos’ dispute letter. P S O F,¶ 5.

              D .P laintiffs A re E ntitled to S tatu tory D am ages and A re N otRequ ired to S how
                 C red itD enial

          HRRG gets the law completely wrong in claiming that Plaintiffs must prove a credit denial

   or actual damages in order to pursue their claims.1 The text of 15 U.S.C. § 1681n and prevailing

   Supreme Court and Eleventh Circuit law squarely foreclose HRRG’s misguided argument and

   establish that Defendants’ willful violations of the FCRA entitle Plaintiffs to statutory damages.

          The civil remedy provision of the FCRA, § 1681n(a), provides that “[a]ny person who

   willfully fails to comply with any requirement imposed under this subchapter with respect to any

   consumer is liable to that consumer in an amount equal to the sum of . . . any actual damages

   sustained by the consumer as a result of the failure or damages of not less than $100 and not more

   than $1,000.” 15 U.S.C.A. § 1681n (emphasis added). The emphasized language of §

   1681n(a)(1)(A)—damages of not less than $100 and not more than $1,000—unequivocally

   provides for statutory damages.

          In construing this straightforward provision, the Supreme Court has held that “[i]f a

   violation is negligent, the affected consumer is entitled to actual damages. If willful, however, the

   consumer may have actual damages, or statutory damages ranging from $100 to $1,000, and even

   punitive damages.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 53 (2007) (internal citations

   omitted and emphasis added). Thus, the Supreme Court recognized the distinction between



   1
     HRRG echoes the misguided argument that Experian raised in its motion for partial summary
   judgment, the response to which Plaintiffs incorporate here (ECF N. 48).
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   allegations of negligence, which may require a showing of credit denial to establish “actual

   damages,” on the one hand, and allegations of willful conduct, on the other, which entitle a

   consumer to statutory damages. Id.

           Likewise, the Eleventh Circuit has repeatedly held that § 1681n(a) “provides that plaintiffs

   may elect to receive actual damages or statutory damages” for willful violations of the FCRA.

   Harris v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1313 (11th Cir. 2009) (emphasis in

   original); accord Collins v. Experian Info. Sols., Inc., 775 F.3d 1330, 1336 (11th Cir. 2015).

   Unsurprisingly, the Eleventh Circuit has reaffirmed this standard again and again with no mention

   of a credit-denial requirement because no such requirement exists. See Williams v. First Advantage

   LNS Screening Sols. Inc, 947 F.3d 735, 745 (11th Cir. 2020) (“To establish a willful failure to

   comply with § 1681e(b), a plaintiff must show that the consumer reporting agency either

   knowingly or recklessly violated the statute.”) (citing Pedro v. Equifax, Inc., 868 F.3d 1275, 1280

   (11th Cir. 2017)); Marchisio v. Carrington Mortg. Servs., LLC, 919 F.3d 1288, 1302 (11th Cir.

   2019) (“Under 15 U.S.C. § 1681n(a), any person who willfully fails to comply with any

   requirement imposed under this subchapter is liable to the affected consumer for actual, statutory,

   or punitive damages.”) (citing Collins, 775 F.3d at 1336). These statutory damages are available

   “even when the plaintiff has suffered no actual damages.” Lawrence v. S. Florida Racing Ass’n,

   LLC, 18-CV-24264-UU, 2019 WL 3890314, at *1 (S.D. Fla. June 28, 2019); Lindsey v. Experian

   Info. Sols., Inc., No. 2:15-CV-02353-AKK, 2017 WL 412889, at *4 (N.D. Ala. Jan. 31, 2017)

   (“[Plaintiff] correctly notes . . . that he does not need actual damages to establish a willful violation

   of the FCRA.”).

           The Supreme Court has held that the “willfulness” standard under FCRA encompasses not

   only “knowing” violations of the statute but also those committed in “reckless disregard” of the



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   statute’s requirement. Safeco Ins. Co. v. Burr, 551 U.S. 47, 57 (2007). In this regard, the Eleventh

   Circuit has held that “a company acts recklessly when its ‘conduct . . . entail[s] an unjustifiably

   high risk of harm that is either known or so obvious that is should be known.’” Marchisio, 919

   F.3d at 1303 (quoting Safeco, 551 U.S. at 68). “A defendant may demonstrate reckless disregard

   of its statutory obligations by repeatedly ignoring warning signs that it is violating the law and by

   failing to take corrective action to prevent future violations.” Daugherty v. Ocwen Loan Servicing,

   LLC, 701 F. App’x 246, 253 (4th Cir. 2017) (citing Am. Arms Int’l v. Herbert, 563 F.3d 78, 85

   (4th Cir. 2009)).

          Plaintiffs have presented more than sufficient evidence that HRRG’s conduct satisfies the

   willfulness standard articulated in Safeco, 551 U.S. at 57, thus entitling Plaintiffs to statutory

   damages. HRRG admits that Plaintiffs’ credit reports were inaccurate. P S O F,¶ 57 . HRRG

   received and processed numerous disputes for both Plaintiffs, but each time failed to address the

   missing account histories. P S O F, ¶ ¶ 50, 55.        Indeed, HRRG admits that its so-called

   “investigation” literally consists of nothing more than reporting the data it has on hand back to the

   credit reporting agency. P S O F,¶ 47 . HRRG testified that it treated Plaintiffs’ disputes as “non-

   specific,” even though it should have treated them as “specific.” P S O F,¶ 46,52. HRRG testified

   that it is aware that “re-aging” is a “common term in the industry” and is “the practice of making

   accounts appear more newly reported.” P S O F,¶ 43.



          On this evidence, a jury could reasonably find that HRRG acted recklessly. See Pinson v.

   JPMorgan Chase Bank, Nat’l Ass’n, 942 F.3d 1200, 1212 (11th Cir. 2019) (holding that JPMorgan

   Chase’s failure to investigate not once but three times plausibly indicates reckless disregard of the

   investigation requirement); Daugherty, 701 F. App’x at 256 (affirming a jury finding of



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   recklessness where the defendant “possessed the information in its own records necessary to

   correct the erroneous data identified” by a credit reporting agency). Indeed, “whether the alleged

   violations of § 1681b(b)(2) were knowing or reckless must be left to the finder of fact.” Graham

   v. Pyramid Healthcare Sols., Inc., No. 8:16-CV-1324-T-30AAS, 2017 WL 2799928, at *3 (M.D.

   Fla. June 28, 2017); see Hargrett v. Amazon.com Dedc LLC, No. 8:15-CV-2456-T-26EAJ, 2017

   WL 10275960, at *2 (M.D. Fla. Feb. 16, 2017) (“Willfulness is typically a question of fact for the

   jury.”).

              Accordingly, whether HRRG’s violations of its duty to investigate were willful, and thus

   Plaintiffs’ entitlement to statutory damages, should be decided by a jury, not at summary judgment.

                 E .In The A lternative, The C ou rt S hou ld P erm it P laintiffs To C om plete
                    D iscoveryB efore Ru lingO n H RRG’s M otion.

              In the alternative, Plaintiffs request that the Court deny HRRG’s motion pursuant to Fed.

   R. Civ. P. 56(d) to allow for the completion of discovery. (Mann Decl. ¶¶ 18-20.) HRRG makes

   several arguments related to how credit is impacted by the reporting of inaccurate account dates

   and how third parties view these credit reports. Discovery into those areas is ongoing. (Id.)

   Plaintiffs should be permitted to complete that discovery before the Court evaluates HRRG’s fact-

   based arguments. See Fontell v. Hassett, 10-CV-01472-AW, 2011 WL 4632579 (D. Md. Oct. 3,

   2011) (holding that courts are particularly hesitant to grant summary judgment where “the party

   opposing summary judgment is attempting to obtain necessary discovery of information possessed

   only by her opponent”) (quoting Ingle v. Yelton, 439 F.3d 191, 196-97 (4th Cir. 2006).

       V.        C O N C L US IO N

              HRRG has not and cannot show that there are no material disputes such that summary

   judgment is warranted. The motion should be denied in its entirety.




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                                    Requ estforO ralA rgu m ent

          Given the importance of the issues presented herein, Plaintiffs respectfully request oral

   argument on this motion. Plaintiffs anticipate that a one-hour hearing should be sufficient to

   address this motion.


    Dated: September 28, 2020                     P ODH   URS T O RS E C K ,P   .A .

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                                           situated




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                                    C E RTIFIC A TE O F S E RV IC E

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk

   of Court using the CM/ECF system on September 28, 2020, and the foregoing document is being

   served this day on all counsel or parties of record, either via transmission of Notices of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

   are not authorized to receive Notices of Electronic Filing.


                                                         /s/ Peter Prieto
                                                         Peter Prieto




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